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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JESSIE A. WYERS,

      Plaintiff,
                                         Case No.
vs.                                      Hon.

STARBUCKS COFFEE COMPANY,
a foreign profit corporation,

      Defendant.

CHRISTOPHER R. BARATTA (P51293)            DORA A. BRANTLEY (P49088)
BARATTA & BARATTA, PC                      FOSTER, SWIFT, COLLINS &
Attorneys for Plaintiff                    SMITH, PC
120 Market Street                          Attorneys for Defendant
Mt. Clemens, MI 48043                      28411 Northwestern Highway,
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                                           (248) 539-9900; F (248) 200-0252
STUART M. FELDHEIM (P30947)                dbrantley@fosterswift.com
FELDHEIM & WILENKIN, PC
Co-Counsel for Plaintiff
30300 Northwestern Highway, Suite 108
Farmington Hills, MI 48334
(248) 932-3505; F (248) 932-1734
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           DEFENDANT STARBUCKS CORPORATION
            d/b/a STARBUCKS COFFEE COMPANY’S
      NOTICE OF REMOVAL TO THE U.S. DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION

      Defendant Starbucks Corporation d/b/a Starbucks Coffee Company

(improperly identified as Starbucks Coffee Company) (hereinafter “Defendant”),
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by and through its attorneys, Foster, Swift, Collins & Smith, PC, pursuant to 28

U.S.C. §§ 1441 and 1446, hereby gives notice to the Court and all other interested

parties, that Defendant seeks removal of the above-captioned cause of action,

originally filed in the Oakland County Circuit Court, Case No. 23-200860-NO, to

the United States District Court for the Eastern District of Michigan, Southern

Division. In support thereof, Defendant states:

      1.    Plaintiff Jessie A. Wyers (hereinafter “Plaintiff”), commenced this

action by filing a Complaint against Defendant in the Circuit Court for the County

of Oakland, State of Michigan, Civil Action No. 23-200860-NO, seeking damages

in excess of the jurisdictional limitation of that Court ($25,000.00), plus costs,

interest, and attorney fees. A copy of Plaintiff’s Complaint and Summons in this

action are attached hereto as Exhibit A and constitute all process, pleadings and

orders received by or served upon Defendant. A copy of the Oakland County

Circuit Court Docket sheet is attached as Exhibit B.

      2.    Prior to initiation of litigation, Plaintiff made a settlement demand

against Defendant, in excess of $1 Million.

      3.    According to Plaintiff’s Complaint (Exhibit A), Plaintiff is a resident

of Oakland County, MI.




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      4.      Defendant is a foreign profit corporation incorporated in the state of

Washington. (Exhibit C) Defendant’s principal place of business is in Seattle,

Washington.

      5.      The claims stated in Plaintiff’s Complaint are ones over which this

Court would have original jurisdiction under 28 U.S.C. § 1332(a)(1) because this is

a civil case where (i) the plaintiff and defendant are “citizens of different states”

and (ii) “the matter in controversy exceeds the sum or value of $75,000.”

      6.      28 U.S.C. §1441 provides, in relevant part:

      Removal of civil actions

      (a)     Generally. – Except as otherwise expressly provided by Act of
              Congress, any civil action brought in a State court of which the
              district courts of the United States have original jurisdiction,
              may be removed by the defendant or the defendants, to the
              district court of the United States for the district and division
              embracing the place where such action is pending.

      7.      Defendant first received, through service or otherwise, the Summons

and a copy of Plaintiff’s Complaint on June 19, 2023, via certified mail. (Exhibit

D) As such, this case is removable to this Court within thirty (30) days thereafter,

i.e., on or before July 19, 2023. See 28 USC §1446.

      WHEREFORE, Defendant prays that this cause of action be removed to

this Court and that this Court accept jurisdiction; and henceforth place this action

on this Court’s docket for further proceedings, the same as though this action had




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originally been instituted in this Court. Defendant requests the entry of such orders

to effectuate removal.

                                Respectfully submitted,

                                FOSTER, SWIFT, COLLINS & SMITH, PC

                                By: /s/ Dora A. Brantley_____________
                                DORA A. BRANTLEY (P49088)
                                Attorneys for Defendant
                                28411 Northwestern Highway, Suite 500
                                Southfield, MI 48034
                                (248) 539-9900
Dated: July 18, 2023            dbrantley@fosterswift.com


                         CERTIFICATE OF SERVICE

       In accordance with 28 USC § 1446, the undersigned will give written notice
to all parties and shall file a copy of the Notice of Removal with the clerk of the
Oakland County Circuit Court.

                                Respectfully submitted,

                                FOSTER, SWIFT, COLLINS & SMITH, PC

                                By: /s/ Dora A. Brantley_____________
                                DORA A. BRANTLEY (P49088)
                                Attorneys for Defendant
                                28411 Northwestern Highway, Suite 500
                                Southfield, MI 48034
                                (248) 539-9900
Dated: July 18, 2023            dbrantley@fosterswift.com




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                     EASTERN DISTRICT OF MICHIGAN
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      INDEX OF EXHIBITS TO DEFENDANT’S NOTICE OF REMOVAL

Exhibit                             Description

 A            Plaintiff’s Complaint and Summons filed in the Oakland County
              Circuit Court, Case No. 23-200860-NO
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 B         Oakland County Circuit Court Docket Sheet for Case No. 23-200860-
           NO

C          Corporate details regarding Defendant

D          Proof of Service of Summons and Complaint upon Defendant filed
           with the Oakland County Circuit Court for Case No. 23-200860-NO




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